              Case 23-11240-TMH     Doc 18-2   Filed 08/29/23   Page 1 of 6




                                      EXHIBIT B

                                  Proposed Final Order




DOCS_DE:244438.4 70786/001
               Case 23-11240-TMH              Doc 18-2       Filed 08/29/23        Page 2 of 6




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
AMERIFIRST FINANCIAL, INC., et al.,1                      ) Case No. 23-11240 (TMH)
                                                          )
                                   Debtors.               ) (Joint Administration Requested)
                                                          )


               FINAL ORDER (I) AUTHORIZING, BUT NOT
           DIRECTING, THE DEBTORS TO (A) PAY PREPETITION
         EMPLOYEE WAGES, SALARIES, OTHER COMPENSATION,
       AND REIMBURSABLE EMPLOYEE EXPENSES AND (B) CONTINUE
    EMPLOYEE BENEFITS PROGRAMS AND (II) GRANTING RELATED RELIEF


         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this “Final Order”): (a) authorizing, but not

directing, the Debtors to (i) pay certain prepetition employee wages, salaries, other compensation,

reimbursable employee expenses, and (ii) continue employee benefits programs in the ordinary

course, including payment of certain prepetition obligations related thereto; and (b) granting

related relief, all as more fully set forth in the Motion; and upon the Avila Declaration; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with Article III of the



1   The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
    LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
    117, Mesa, AZ 85203.
2   Capitalized terms used in this Final Order but not immediately defined have the meanings given to such terms in
    the Motion.



DOCS_DE:244438.4 70786/001
              Case 23-11240-TMH          Doc 18-2     Filed 08/29/23     Page 3 of 6




United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

Motion and opportunity for a hearing on the Motion were appropriate and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The Debtors are authorized, but not directed, in their sole discretion, to:

(a) continue, modify, change, and discontinue the Employee Compensation and Benefits in the

ordinary course of business during these chapter 11 cases and without the need for further Court

approval, subject to applicable law, and (b) pay and honor prepetition amounts outstanding under

or related to the Employee Compensation and Benefits Programs in the ordinary course of

business, up to the amounts set forth in paragraph 3 of this Final Order. Nothing herein shall be

deemed to authorize the payment of any amounts which violate, implicate, or otherwise are subject

to 503(c) of the Bankruptcy Code. The Debtors will seek approval of any insider bonus or incentive

programs, if any, under separate motion under section 503(c) of the Bankruptcy Code.

       3.      Nothing herein shall be deemed to authorize the payment of any amounts in excess

of the amounts budgeted in the Final Order (I) Authorizing Debtors (A) to Obtain Postpetition

Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition


                                                 2

DOCS_DE:244438.4 70786/001
              Case 23-11240-TMH                Doc 18-2    Filed 08/29/23    Page 4 of 6




Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting

Related Relief (the “Final DIP Order”).

       4. Notwithstanding anything to the contrary herein, the Debtors are authorized, but not

directed, in their sole discretion, to pay, remit, or reimburse, as applicable, not more than an

aggregate amount of $1,130,000 for the following obligations to the extend authorized by the Final

DIP Order:

                                   Employee Obligation                      Final Amount
                     Unpaid Compensation Obligations                         $500,000
                     Withholding Obligations                                 $205,000
                     Payroll Processing Fees                                  $55,000
                     Reimbursable Expenses and Credit Care Obligations       $140,000
             Employee Compensation                                          $900,000.00
                     Health Benefit Plans                                    $115,000
                     401(k) Plan                                              $15,000
             Employee Benefits Programs                                      $130,000
             Total                                                          $1,130,000


       5.      Pursuant to section 362(d) of the Bankruptcy Code, Employees are authorized to

proceed with their claims under the Workers’ Compensation Program in the appropriate judicial

or administrative forum and the Debtors are authorized, but not directed, to continue the Workers’

Compensation Program in the ordinary course. This modification of the automatic stay pertains

solely to claims under the Workers’ Compensation Program.

       6.      The Debtors are authorized, but not directed, to forward any unpaid amounts on

account of Deductions or Payroll Taxes to the appropriate third-party recipients or taxing

authorities in accordance with the Debtors’ prepetition policies and practices.




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DOCS_DE:244438.4 70786/001
              Case 23-11240-TMH          Doc 18-2     Filed 08/29/23      Page 5 of 6




       7.      The Debtors are authorized, but not directed, to pay costs and expenses incidental

to payment of the Employee Compensation and Benefits obligations, including all administrative

and processing costs and payments to outside professionals.

       8.      Nothing herein shall be deemed to authorize the payment of any amounts which

violates or implicates section 503(c) of the Bankruptcy Code; provided that nothing herein shall

prejudice the Debtors’ ability to seek approval of relief pursuant to section 503(c) of the

Bankruptcy Code at a later time.

       9.      Notwithstanding the relief granted in this Final Order and any actions taken

pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

promise or requirement to pay any particular claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Final Order or the Motion; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any

other party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Final Order are valid and the Debtors and all other parties-in-interest expressly

reserve their rights to contest the extent, validity, or perfection or to seek avoidance of all such

liens. Any payment made pursuant to this Final Order should not be construed as an admission as

to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any other

party-in-interest’s rights to subsequently dispute such claim.




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DOCS_DE:244438.4 70786/001
              Case 23-11240-TMH         Doc 18-2     Filed 08/29/23     Page 6 of 6




       10.        The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when presented

for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

designation of any particular check or electronic payment request as approved by this Final Order

without any duty of further inquiry and without liability for following the Debtors’ instructions.

       11.     The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with any Employee Compensation and Benefits Programs.

       12.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       13.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

       14.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

       15.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Order.




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DOCS_DE:244438.4 70786/001
